291 F.2d 752
    James L. McCRORY, Appellantv.NORTHERN NATURAL GAS CO.
    No. 16757.
    United States Court of Appeals Eighth Circuit.
    June 5, 1961.
    
      Appeal from the United States District Court for the District of Nebraska.
      See also 8 Cir., 277 F.2d 128.
      William C. Spire, U. S. Atty., Omaha, Neb., for appellant.
      James W. R. Brown, James J. Fitzgerald, Jr., and Lyle E. Strom, Omaha, Neb., for appellee.
      PER CURIAM.
    
    
      1
      Appeal from District Court dismissed on dismissal by appellant.
    
    